

Saraiva v New York State Thruway Auth. (2025 NY Slip Op 02539)





Saraiva v New York State Thruway Auth.


2025 NY Slip Op 02539


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025

PRESENT: CURRAN, J.P., MONTOUR, SMITH, GREENWOOD, AND KEANE, JJ. (Filed Apr. 25, 2025.) 


MOTION NO. (863/24) CA 24-00174.

[*1]MARIO SARAIVA, CLAIMANT-APPELLANT, 
vNEW YORK STATE THRUWAY AUTHORITY, DEFENDANT-RESPONDENT. (CLAIM NO. 128270.)



MEMORANDUM AND ORDER
Motion for reargument or leave to appeal to the Court of Appeals denied.








